923 F.2d 871
    Unpublished DispositionNOTICE: Federal Circuit Local Rule 47.8(b) states that opinions and orders which are designated as not citable as precedent shall not be employed or cited as precedent.  This does not preclude assertion of issues of claim preclusion, issue preclusion, judicial estoppel, law of the case or the like based on a decision of the Court rendered in a nonprecedential opinion or order.Roland DORL, Plaintiff-Appellant,v.The UNITED STATES, Defendant-Appellee.
    No. 90-5085.
    United States Court of Appeals, Federal Circuit.
    Nov. 28, 1990.Rehearing Denied Dec. 28, 1990.
    
      Before PLAGER, Circuit Judge, FRIEDMAN, Senior Circuit Judge, and RADER, Circuit Judge.
      PER CURIAM.
    
    
      1
      The judgment of the United States Claims Court, dismissing the appellant's complaint, is affirmed on the basis of the order of that court.
    
    